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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

PEOPLE FOR THE ETHICAL TREATMENT §
OF ANIMALS, INC.,                   §
      Plaintiff,                    §
                                    §
v.                                  §     No. 4:18-CV-01547
                                    §
MICHAEL K. YOUNG, IN HIS OFFICIAL   §
CAPACITY AS PRESIDENT OF TEXAS      §
A&M UNIVERSITY,                     §
      Defendant.                    §
_____________________________________________________________________________

           DEFENDANT’S UNOPPOSED MOTION TO WITHDRAW COUNSEL
                  AND DESIGNATION OF ATTORNEY-IN-CHARGE
______________________________________________________________________________

      Pursuant to Southern District of Texas Local Rule 83.2, Defendant files this

Unopposed Motion to Withdraw Anne Marie Mackin as counsel, and show as follows:

      1.     Assistant Attorney General Anne Marie Mackin is designated as

attorney-in-charge for Defendant in the above-captioned cause.

      2.     Ms. Mackin has accepted a position outside the Office of the Attorney

General of Texas.

      3.     Assistant Attorney General Eric A. Hudson has entered his appearance

for Defendant in this cause. Mr. Hudson may be contacted at the Office of the

Attorney General, P.O. Box 12548, Capitol Station, Austin, Texas 78711-2548.

      4.     Withdrawal of Ms. Mackin will not delay these proceedings.

      5.     Given Ms. Mackin’s departure from the Office of the Attorney General

of Texas, Defendant designates Assistant Attorney General Eric A. Hudson as

attorney-in-charge on its behalf.
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      Defendant respectfully requests that the Court grant this motion to withdraw

Anne Marie Mackin in the above-captioned cause, and note the designation of

Assistant Attorney General Eric A. Hudson as attorney-in-charge for Defendant.

                                     Respectfully submitted.

                                     KEN PAXTON
                                     Attorney General of Texas

                                     JEFFREY C. MATEER
                                     First Assistant Attorney General

                                     BRANTLEY STARR
                                     Deputy First Assistant Attorney General

                                     JAMES E. DAVIS
                                     Deputy Attorney General for Civil Litigation

                                     DAVID A. TALBOT, JR.
                                     Acting Chief- General Litigation Division

                                     /s/Anne Marie Mackin
                                     ANNE MARIE MACKIN
                                     Attorney-in-Charge
                                     Texas Bar No. 24078898
                                     Southern District No. 2627567
                                     ERIC A. HUDSON
                                     Texas Bar No. 24059977
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                                     eric.hudson@oag.texas.gov

                                     ATTORNEYS FOR DEFENDANT
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                          CERTIFICATE OF CONFERENCE

      I certify that I conferred with counsel for Plaintiff regarding the contents of
this motion, and counsel indicated that they do not oppose the relief sought herein.

                                       /s/ Anne Marie Mackin
                                       ANNE MARIE MACKIN
                                       Assistant Attorney General


                             CERTIFICATE OF SERVICE

       I certify that on October 24, 2018, the foregoing instrument was filed
electronically via the Court’s CM/ECF system, causing electronic service upon all
counsel of record.
                                       /s/ Anne Marie Mackin
                                       ANNE MARIE MACKIN
                                       Assistant Attorney General
